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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

    AMF BOWLING CENTERS, ET AL,               )
                                              )
                            Plaintiffs,       )
                                              )
                v.                            )                 Case No: 3:23-cv-448
                                              )
    THOMAS TANASE,                            )
                                              )
                            Defendant.        )
    __________________________________________)

     MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION
      FOR LEAVE TO FILE COUNTERCLAIM AND TO ADD AN ADDITIONAL
                               PARTY

           DEFENDANT THOMAS TANASE, by counsel, submits the following

    memorandum of points and authorities in support of his “Motion for Leave to File

    Counterclaim and to Add an Additional Party”.

                                             FACTS

            In their Complaint, Plaintiffs have alleged that Defendant THOMAS TANASE

    (Tanase) hacked into the emails of Tom Shannon (Shannon) after Tanase was terminated

    by Plaintiffs. Tanase has vehemently denied the false allegations of hacking and has

    maintained that the allegations were a ruse to justify his wrongful termination and age

    discrimination. In fact, in discussions with Counter-Defendant BRETT PARKER

    (Parker), Tanase denied the allegations resulting in Parker threatening criminal charges

    and this lawsuit if Tanase did not drop any claims against Plaintiffs, filed with the EEOC,

    or spoke with attorney Daniel W. Dowe, Esq. who has filed 78 Charges of Discrimination

    against Bowlero pursuant to the 1967 Age Discrimination in Employment Act, 29 U.S.

    Code § 621, et seq. (“ADEA”). In fact, these charges were made up by the Counter-
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    Defendants in order to do an end run around the EEOC and the findings which the

    Plaintiffs and Counter-Defendant knew was coming after Tanase was terminated in

    violation of the ADEA. Tanase’s prior counsel did not file a counterclaim. However, the

    issue of Tanase’s termination and age discrimination were heard by the EEOC, which

    determined that there was probable cause to believe that Tanase was wrongfully

    terminated due to age discrimination in violation the ADEA.

            In this case, Plaintiffs have been aware that the matters raised in the Counterclaim

    have been Tanase’s position and that Tanase was asserting those matters as a defense to

    their allegations. The Plaintiffs have been on notice and are not prejudiced by the new

    counterclaims.

                                           ARGUMENT

            1. Rule 13 of the Federal Rules of Civil Procedure Permits This
               Counterclaim


            Rule 13 of the Federal Rules of Civil provides for counterclaims and states in

    pertinent part:

            (a) COMPULSORY COUNTERCLAIM.

               (1) In General. A pleading must state as a counterclaim any claim
            that—at the time of its service—the pleader has against an opposing party
            if the claim:
               (A) arises out of the transaction or occurrence that is the subject matter
            of the opposing party's claim; and
              (B) does not require adding another party over whom the court cannot
            acquire jurisdiction.


            Rule 13 also allows for the inclusion, when necessary, of additional parties, when

    the interest of justice so requires.


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           h) JOINING ADDITIONAL PARTIES. Rules 19 and 20 govern the addition of
           a person as a party to a counterclaim or crossclaim..


           2. The Requirements of Rule 15 of the Federal Rules of Civil Procedure
              Apply.

           The Courts have considered the filing of a counterclaim out of time an

    amendment to the initial response and have applied the requirements of Rule 15 of the

    Federal Rules of Civil Procedure. “However, the 2009 Amendments to the Federal Rules

    of Civil Procedure abrogated Rule 13(f) and ‘establishe[d] Rule 15 as the sole rule

    governing amendment of a pleading to add a counterclaim".             Virginia Innovation

    Sciences, Inc. v. Samsung Electronics. Co. LTD, 11 F.Supp.3d 622, 631 (E.D. Va. 2014);

    see also, Brown v. Seabrooks, Case No. 5:20-cv-00010, p. 7-8 (W.D. Va. Nov 19, 2020).

    Rule 15 provides for the amendment of pleadings. There are amendments made as a

    matter of course, generally within 21 days and there are “other amendments” such as the

    one in this case.       As to other amendments, Rule 15(a)(2) provides: “Other

    Amendments. In all other cases, a party may amend its pleading only with the opposing

    party's written consent or the court's leave. The court should freely give leave when

    justice so requires.”

           As the Court in Brown explained:

           The "general purpose" of the compulsory counterclaim mandates of Rule
           13(a) is "to have all related actions heard at one time". [Painter v. Harvey,
           863 F.2d 329, 334 (4th Cir. 1988)] Consistent with this policy, the Fourth
           Circuit has held "compulsory counterclaims should be granted freely."
           Barnes Grp., Inc. v. C&C Prods., Inc., 716 F.2d 1023, 1035 n. 35 (4th Cir.
           1983) (citing 3 J. Moore, MOORE'S FhEDERAL PRACTICE ¶ 13.33, at
           13-196 (2d ed. 1983)).




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           It is anticipated that the Counter-Defendants will argue that the delay in filing

    should bar the counterclaim. However, "delay alone is an insufficient reason to deny

    leave to amend." Edwards v. City of Goldsboro, 178 F.3d 231, 242 (4th Cir. 1999);

    Deasy v. Hill, 833 F.2d 38, 41 (4th Cir. 1987); Brown, p. 9. As the Court in Brown

    explained:

           Denial of leave to amend is justified if there is delay and (1) the
           amendment would prejudice the opposing party, (2) the movant has acted
           in bad faith, or (3) the amendment would be futile. Laber v. Harvey, 438
           F.3d 404, 426 (4th Cir. 2006) (quoting Johnson v. Oroweat Foods Co.,
           785 F.2d 503, 509 (4th Cir. 1986)).



           Here, like in Brown and Virginia Innovation Sciences, there is no prejudice to

    Counter-Defendants in allowing the counterclaim. Counter-Defendants were aware that

    every time they asserted that Tanase illegally hacked into emails and illegally took

    confidential information, Tanase informed them that those claims were false and

    fabricated. Tanase has maintained that position from the time the Counter-Defendants

    made the false claims, through the EEOC proceedings, and through this case; most

    recently, at Tanase’s deposition on March 11, 2024.

           As to bad faith, Tanase just obtained present counsel to replace previous counsel.

    Daniel Kim entered the case just before the deposition and Scott Pickus and Alan Cilman

    entered their appearances literally days ago.

           Obviously, the counterclaims are not futile. They are an integral part of the

    defense in this case. As noted, the other side raised the false claims of hacking and theft

    of confidential information with the EEOC and the EEOC ruled in Tanase’s favor. To




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    date, the other side has not identified a single document or other thing Tanase obtained

    through hacking, because the charges are made up.

           3. The Addition of Brett Parker


           Brett Parker was a director and the former president and Chief Financial Officer

    of Bowlero and now serves as a director and Vice Chairman of Bowlero. Since he made

    the threats on behalf of himself and the other Counter-Defendants, Tanase believes he is a

    required party as defined in Rule 19 of the Federal Rules of Civil Procedure.



                                                                Respectfully submitted,

                                                                Thomas Tanase


                                                                /s/ I.Scott Pickus
                                                                By Counsel


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                                 CERTIFICATE OF SERVICE

           I hereby certify that on the 3rd    day of April, 2024 I will electronically file the
    foregoing Memorandum of Points and Authorities in Support of Motion for Leave to File
    Counterclaim and to Add an Additional Party with the Clerk of Court using the CM/ECF
    system, which will then send a notification of such filing (NEF) to the following:

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